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                              UNITED STATES DISTRICT COURT
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                            EASTERN DISTRICT OF CALIFORNIA
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                                         FRESNO
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11    UNITED STATES OF AMERICA                  U.S.D.C., E.D. CA
                                                Case No.:   1:04-CR-05171-AWI
12                    Plaintiffs,
13            v.                                ORDER SEALING DOCUMENT
14    L.C.O.
      AKA H.O.S.,
15
                      Defendant.
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           GOOD CAUSE HAVING BEEN FOUND, IT IS ORDERED that the
18
     following documents be filed under seal:
19
           1.        [UNDER SEAL] NOTICE OF MOTION AND MOTION FOR
20                   PSYCHIATRIC EXAMINATION AND FOR HEARING TO
                     DETERMINE DEFENDANT’S COMPETENCY TO STAND TRIAL
21                   AND/OR PLEAD GUILTY;
22         2.        [UNDER SEAL] MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION FOR PSYCHIATRIC EXAMINATION
23                   AND FOR HEARING TO DETERMINE DEFENDANT'S
                     COMPETENCY TO STAND TRIAL AND/OR PLEAD GUILTY ;
24                   DECLARATION OF EDGAR EUGENE PAGE
25   IT IS SO ORDERED.
26
     Dated:        June 23, 2010
27   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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